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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA
WASHINGTON D.C.

UNITED STATES OF AMERICA,
Plaintiff,

Vs. CASE NO.: 1:2021-CR-00292-RCL-1

CHRISTOPHER J. WORRELL,
Plaintiff.

/

JOINT STIPULATION FOR SUBSTITUTION OF COUNSEL
COMES NOW, Alex R. Stavrou, P.A., and John M. Pierce, Esquire, who hereby
stipulate and agree that Alex R. Stavrou, Esquire, be substituted as Counsel for
Defendant, Christopher J. Worrell. It is further agreed that the record, (if any), currently
in possession of John Pierce, Esquire, will be sent electronically or via First Class US
Mail to Alex R. Stavrou, P.A. at13046 Racetrack Road, #333, Tampa, Florida 33626 and

that John Pierce, Esquire shall have no further responsibilities in the above captioned

Case.

(Uy R ; AQ — __/s/John M. Pierce, esq.

 

Alex R. plsone Esquire John Pierce, Esquire
Alex R. Stavrou, P.A. Pierce Bainbridge, P.C.
13046 Racetrack Road 355 S. Grand Avenue
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Tampa, Florida 33626 Los Angeles, CA 90071
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Certificate of Service

 

T HEREBY CERTIFY that a true and correct copy of the foregoing Notice of

Appearance was sent via email delivery to John Pierce, Esquire, of
Pierce Bainbridge, 355 S. Grand Avenue, 44" Floor, Los Angeles, California, 90071, and

the United States Attorney, to Assistant United States Attorney William Kennelly Dreher

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Esquire, 700 Stewart Street, Suite 5220, Seattle, Washington, 98101, on this 24th day of

September, 2021.

vl by}
AlexR. S avrou, Esquire
Alex R. Stavrou, P.A.

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Tampa, Florida 33626
Phone: (813) 251-1289

Fax: (813) 489-2528
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Attorney for Defendant
